Case 2:10-cv-01840-IPJ   Document 123-3   Filed 11/09/11   Page 1 of 5            FILED
                                                                         2011 Nov-09 PM 03:40
                                                                         U.S. DISTRICT COURT
                                                                             N.D. OF ALABAMA




         Exhibit C
Case 2:10-cv-01840-IPJ   Document 123-3   Filed 11/09/11   Page 2 of 5
Case 2:10-cv-01840-IPJ   Document 123-3   Filed 11/09/11   Page 3 of 5
Case 2:10-cv-01840-IPJ   Document 123-3   Filed 11/09/11   Page 4 of 5
Case 2:10-cv-01840-IPJ   Document 123-3   Filed 11/09/11   Page 5 of 5
